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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                  Plaintiff,

 v.                                                Case No. 3:12-CR-30320-NJR-1

 KATHRYN G. GARTEN,

                  Defendant.

                                           ORDER

ROSENSTENGEL, Chief Judge:

       Pending before the Court is a Motion for Hardship Credit for Hard Time Served filed

by Defendant Kathryn G. Garten. (Doc. 139). Garten asks the Court to award her two days of

credit for every one of the estimated 375 days she claims she has been in lockdown at FCI-

Aliceville due to COVID-19. Garten claims she has been locked in her cell for 22 or more

hours a day, she has had limited access to recreation, the meals can be considered “gruel,”

the water is brown, personal hygiene is “significantly degraded,” and medical care is scarce.

Garten alleges these conditions are a violation of her constitutional right to be free from cruel

and unusual punishment.

       This Court has no jurisdiction to grant the relief requested. A district court lacks

authority to modify a defendant’s sentence after it has been imposed except in very limited

circumstances. See 18 U.S.C. § 3582(c) (authorizing a district court to modify a term of

imprisonment: (1) if there are extraordinary and compelling reasons warranting a reduction

and that reduction is consistent with applicable policy statements issued by the Sentencing

Commission; (2) pursuant to Rule 35(c) to correct an arithmetical, technical, or other clear

error identified in a sentence within seven days of its imposition; and (3) when a defendant



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has been sentenced to a term of imprisonment based upon a sentencing range that has

subsequently been lowered by the Sentencing Commission).

       After a defendant has been sentenced, the Bureau of Prisons (“BOP”) has the

responsibility for administering the sentence. United States v. Wilson, 503 U.S. 329, 335 (1992).

Thus, it is the BOP, not the district court, that is responsible for computing a sentence credit

award. Id.; United States v. Walker, 917 F.3d 989, 993-94 (7th Cir. 2019). If a defendant disagrees

with the BOP’s computation of sentence credit, she may seek administrative review and then

file a petition under 28 U.S.C. § 2241 in the district of her confinement. Walker, 917 F.3d at 994

(citing Jake v. Herschberger, 173 F.3d 1059, 1063 (7th Cir. 1999); United States v. Koller, 956 F.2d

1408, 1417 (7th Cir. 1992)).

       Here, Garten asks the Court to issue double credit for her time served due to alleged

unconstitutional conditions of confinement. Garten has not alleged any grounds upon which

the Court has authority to modify her sentence, however, and the Court lacks jurisdiction to

give her credit for her time in lockdown. To the extent Garten wishes to challenge the

challenge the constitutionality of her conditions of confinement at FCI Aliceville in a civil

rights action, or to challenge the BOP’s computation of credit awards against her federal

sentence in a habeas action under 28 U.S.C. § 2241, such actions must be brought in the

Northern District of Alabama.

       For these reasons, Motion for Hardship Credit for Hard Time Served filed by

Defendant Kathryn G. Garten (Doc. 139) is DENIED.

       IT IS SO ORDERED.

       DATED: May 5, 2021

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                                                     NANCY J. ROSENSTENGEL
                                                     Chief U.S. District Judge

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